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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
______________________________________________________________________________

DANIEL ESSA,                                       CASE NO.
          Plaintiff,
                                                   Judge
       vs.                                         Magistrate Judge

EXPERIAN INFORMATION SOLUTIONS,
INC., an Ohio corporation; EQUIFAX
INFORMATION SERVICES, LLC, a
Georgia company; TRANS UNION, LLC,
a Delaware limited liability company; and
NATIONSTAR MORTGAGE, LLC, a
Delaware company;
              Defendants.
______________________________________________________________________________

                 TRANS UNION, LLC’S NOTICE OF REMOVAL
______________________________________________________________________________

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans

Union”) hereby removes the subject action from the 54B District Court, Ingham County,

Michigan, to the United States District Court for the Western District of Michigan, on the

following grounds:

       1.     Plaintiff Daniel Essa served Trans Union on or about January 11, 2017, with a

Summons and Complaint filed in the 54B District Court, Ingham County, Michigan. Copies of

the Summons and Complaint are attached hereto, redacted pursuant to Federal Rule of Civil

Procedure 5.2, as Exhibit A and Exhibit B. No other process, pleadings or orders have been

served on Trans Union.




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       2.      Plaintiff makes claims under, alleges that Trans Union violated and alleges that

Trans Union is liable under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the

“FCRA”). See Complaint ¶¶ 63-76.

       3.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C. §

1331 since there is a federal question. As alleged, this suit falls within the FCRA which thus

supplies this federal question.

       4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the 54B

District Court, Ingham County, Michigan, to the United States District Court for the Western

District of Michigan.

       5.      Counsel for Trans Union has confirmed with the 54B District Court, Ingham

County, Michigan, telephonically, that there is no document or file suggesting any other

Defendant has been served. To the best of Trans Union’s knowledge, no other named Defendant

in this matter has been served as of the date and time of this Notice Of Removal.

       6.      Notice of this removal will promptly be filed with the 54B District Court, Ingham

County, Michigan and served upon all adverse parties.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action

from the 54B District Court, Ingham County, Michigan to this United States District Court,

Western District of Michigan.




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                                            Respectfully submitted,



Date: January 13, 2017                      /s/Justin T. Walton
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                                            Justin T. Walton, Esq. (IN #29540-49)
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                                            Counsel for Defendant Trans Union, LLC




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been deposited into the

United States mail, first class, properly addressed as follows, this 13th day of January, 2017:

for Plaintiff Daniel Essa
Gary D. Nitzkin, Esq.
Travis Shackelford, Esq.
Michigan Consumer Credit Lawyers
22142 West Nine Mile Road
Southfield, MI 48033



                                                      /s/Justin T. Walton
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